 Case: 1:17-cv-05124 Document #: 62 Filed: 12/20/17 Page 1 of 48 PageID #:1271




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


   MARY PRZYTULA and BRAD BREDE, on
   behalf of themselves and all others similarly
   situated,
                                                        No. 17 Civ. 5124
                           Plaintiffs,

            v.

   BED BATH & BEYOND INC.,

                           Defendant.



                                 DECLARATION OF MATT BILSKI

       I, Matt Bilski, based on my personal knowledge of the facts stated herein, testify by

Declaration as follows:

       1.        I am over the age of 18 and am otherwise competent to testify to the matters

contained in this Declaration, and if so called, would testify to the facts below.

       2.        All of the statements in this Declaration are true and accurate to the best of my

knowledge.

       3.        The facts set forth in this Declaration are based on my own personal knowledge.

       4.        I became employed by Bed Bath and Beyond Inc. ("BBB") in 1998 as a District

Human Resources Manager. I was then promoted to Regional Human Resources Manager in

2006. Presently, I am Director of Human Resources for the Midwest Region and have served in

that role since October, 2017. The Midwest Region includes stores in Illinois, Indiana, Iowa,

Michigan, Minnesota, North Dakota, Ohio, Pennsylvania, and Wisconsin. There are currently

132 stores in my total Region.



                                                  1
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       5.      Three of the Plaintiffs in this action worked in the Midwest Region during their

time as Assistant Store Managers. These individuals are: Mary Przytula, Robert Kempner, and

Dennis Popp.

       6.      When Assistant Store Managers warn or discipline associates in writing, copies of

the same are maintained in the personnel files of the associates that receive the warning or

discipline. Attached hereto as Exhibits 1 and 2 are'true and accurate copies of documents from

various associates' personnel files of Mary Przytula and Robert Kempner's warning and

disciplining of associates.

       7.      Assistant Store Managers are also required to complete performance reviews for

the associates they supervise. Copies of these performance reviews are also maintained in the

personnel files of the associates that receive the performance reviews. Attached hereto as

Exhibits 3, 4, and 5 are true and accurate copies from various associates' personnel files of

performance reviews conducted by Mary Przytula, Robert Kempner, and Dennis Popp.




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       8.     When Assistant Store Managers are disciplined or terminated, Store Managers

usually document the discipline and a copy of the warning or discipline is maintained in the

Assistant Store Manager's personnel file. Dennis Popp was disciplined on more than one

occasion, was placed on a performance improvement plan, and was ultimately terminated for his

poor performance. True and accurate copies of discipline, performance improvement plan, and

termination related documents for Dennis Popp are attached hereto as Exhibit 6.



       I declare under penalty of perjury that the foregoing is true and correct.



Executed this / Irttlay of December, 2017.


                                              By:
                                                     Matt Bilski
                                                     Director of Human Resources — Midwest Region
                                                     Bed Bath and Beyond Inc.




                                                 3
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                      EXHIBIT 1
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2017-10-11 09:05               0815 2195483999 >> 103118 Fax Server                   P 1/16




                                                   Note to Personnel File
                                                   (Attendance coaching)
                     REDACTED

             Name

             Position 5    :1(67S,Sit

             Store    /0

             Date of discussion   n(001
             Composed by

             Subj                                  ercic as mom))

             Diseussicm notes:

             During the neriirtil of (hap ninuml   flcfc               4,(///6(
                    REDACTED
             (Name)                                 has been (Tardy / Absent / left early) from
             scheduled work                                     3        3
             (Number)               of times.

                                           i
             Attach attendance record or . ecord dates -
             1  be'ri     'f 3 //C—            Ro -.Iffi% Tc; f: -3/n                Wit
             Bed Bath & Beyond cons' rs excess' e a .sence and tardiness from work to be
                                                                                            Li/4-
             unsatisfactory job performance. Bed Bath & Beyond expects all employees to report on
             time every day they are scheduled to work. We realize there are certain instances such
             as a bona fide illness, injury, or medical emergency, which may prohibit an employee
             from reporting to work. In such cases, follow the policy outlined in your employee
             handbook and set by store management. This policy requires you to call in advance of
             your scheduled start time and report your tardiness or absence to a key holder. In case
             of excessive absence your manager may require supporting documentation to justify
             your absence before scheduling you to work again. (i.e. Doctors note for illness).

             Associate response:
             REDACTED



             Printed name of manager performing the coaching P i7',(22'

             Signature of manager performing the coachin—j'L—Ut_

             (Optional) Signature of witness or individual receiving coachin

             This is not an ADN, but a record of discussion relating to performance or behavior
         Case: 1:17-cv-05124 Document #: 62 Filed: 12/20/17 Page 6 of 48 PageID #:1276
2017-10-11 09:06                0815 2195483999 >> Ka1.18 Fax Server                  P 2/16


                                               ASSOCIATE DISCIPLINARY NOTICE
                            REDACTED
     Imployee's Name:                                                  Date:    SM        ) N6

     I )ate of hire:   wapy                       ss.                                         Store II: 1011-2

     Circle one:          ,Iseismination                                    (   Warning    '-'")

     A. Reason(s) tot' notice (chock applicable reasons and explain in section 11):
            Absence (indicate if unreported, excessive, etc.)    /1. ( ) I ailnre 10 follow directions
     2      Tardiness                                            5. ( ) Violation of- company rules
     :3. ( ) Improper conduct                                        ( ) Other

     FL Facts leading to the discipline (fie specific, stating detailed explanation of incident_ dale/time of incident.
        .NAi'vess(es), rule violate I, etc; refer to any prey ous ye ball and/or written warn ing(s  ,
         I           Of?'           C/Ic            Fde_              71-fel 4' 1 ce 0 '7 • //6//6 '
                                                         7          0/6
                                                        c2 16

     C_ Describe the Company's expectations of employee:
        Bed Bath & Beyond considers excessive absence from work to be unsatisfactory job performance. Bed
        Bath &. Beyond expects all employees to report to work on time every day they are scheduled to work.
                                                                                •
     D. Next disciplinary step:                                f           L940,1,13
     Repeated behavior of the aforementioned                 or    any other violation will result in further disciplinary action
     up to and including termination.

                                                                                            REDACTED
       dttin_TOC 19                 Ii?•))1(
     Manager's Name               Date                anager-s Name             Date          raiployec's Signature I )ale
                                                                                              ('Phis signature indicates that
                                                                                              employee is aware of this not ioe,)
                               . S.11.111 IC
     Manap,er's Signature         Date             Manage

    (Once nomplfqed       sicynN:1, File iii wiployee's personnel File.)
                                                                                                             kiR 026A 6N}{
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                      EXHIBIT 2
               Case: 1:17-cv-05124 Document #: 62 Filed: 12/20/17 Page 8 of 48 PageID #:1278




   BED BATH &                              REDACTED
                                                                                                       MERCHANDISING / STOCK (Page 1 of 2)
   BEYOND
   Beyond any store of its kind:   Name:                                         Store #: 1003              Date of review:   s-Af
                                                                  Circle review type & Indicate Date Due:
                 DAY REVIEW DUE:
                90                                                                                    OTHER (                 Review) due:          g//   /3'
               ANNUAL REVIEW DUE:                 I
               DATE OF HIRE:         3 j Zig 1 4z0 3-
1-11IS PERFORMANCE REVIEW IS BEING PREPARED BY AND/OR A RESULT OF INPUT FROM THE FOLLOWING MANAGERS:
Printed Name                                          Signature                                   Position

Printed Nainel3 fos.....,bot--     21.-tilti liAliSigmillre                                       Position

Printed Name                                          Signature                                   Position

Printed Name                                      1 Signature                                     Position

Printed Name                                      ! Signature                                     Position

Printed Name                                      Ij Signature                                    Position
                  KEY: E - Excellent, Y - Very Good, G - Good, N - Needs Improvement, U - Unacceptable                                                           - I
                                                                                                                                              Choose      e rating
(Draw a line through any skill which isn't nOplicable.)                                                                                      E V
CUSTOMER SERVICE SKILLS
* Understands that the customer is our main priority and consistently maintains a customer focus.                                            E     V0     N U
* Ensures a prompt, friendly approach to all customers.                                                                                      E     V ©N          U
* Escorts customers seeking location(s) of specific merchandise.                                                                             E 0      G N        U
* Is alert to customer needs and offers a cart whenever appropriate.                                                                         E     V el0 N       U
* Responds quickly to customer inquiries and ''Passes the Buck" whenever necessary.                                                          E V ON U
* Complies with Bridal and Gill Registry program standards when servicing both registrants
  and guests.                                                                                                                                      VeN           U
* Determines customer needs and works to add-on sell.                                                                                        E     V G®          U
* Has developed good product knowledge: keeps abreast of new items and utilizes this knowledge
  to enhance service.                                                                                                                        E   (2, G    N      U
* Answers the phone promptly and uses proper phone etiquette.                                                                                E     VON           U

 TEAM SKILLS
 * Demonstrates initiative and completes projects in a timely manner.                                                                        E     VON           U
 * Accepts constructive criticism and acts upon it.                                                                                          E     V GOU
 * Maintains a positive outlook toward job.                                                                                                  E     VON           U
 * Communicates effectively with Mana0-nent and other associates.                                                                            E     V G (2) U
 * Works the schedule set by the Manager but demonstrates flexibility when needs of the
   business dictate.                                                                                                                         E 00) G N           U
   Is a team player.                                                                                                                         E VON               U
 * Exhibits professional manner. dress and appearance at all times.                                                                          E     VaN           U

 MERCHANDISING & DEPARTM NT MAINTENANCE
 * Works to maintain selling floor standar s and recovery of the department.                                                                 E     V    G®       U
                                           1                                                                                                 E     V e)      N   U
 * Is aware of product sell through and corn pletes pull lists.
 * Demonstrates good product knowledge and uses the information to merchandise the
   selling floor effectively.          I                                                                                                     E     e) G      N   U
 * Understands and utilizes JDA to resolvvt selling floor inquiries.                                                                         E     V e)      N   U
 * Adheres to shortage reduction and compliance procedures.                                                                                  E  V 6 ,)) N        U
 * Safely handles equipment and maintains safety awareness.                                                                                  E 0   G N           U



           J: prmsh.wd(rev.2000:8/041 /07;3/07;6/10)
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                                                                                                                     MERCHANDISING / STOCK(Page 2 of 2)

 1. ATTENDANCE & PUNCTUALITY:                                                                                   Acceptable            V              Not Acceptable
                                                                                                                 1.642:4-1-                                 .;ett.•
 2. GOALS AND OBJECTIVES
 Objectives Accomplished
 List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected from
 goals established at previous review or dur ng the period.

                                                                              P/C .0--ge


  Unaccomplished Objectives
  List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the e?ected results as
  defined in previous review or during the perjo0.
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    LfraR-f                      1t




  Goals and Objectives for next Review Period:
  Identify 2-3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period. (For each goal or
  objective indicate hov.4 accomplishment ofigoal/objective will be measured and indicate target date for accomplishments.)
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                                                                                                              etc.,                                                   a -r
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  iStrengths
    tv''--2-r-g---14--                                LE:4,4? . 4. ,4_,, c_e_w_,.,,,,.01.4,.4....„.„...4;.,
             and Weaknesses:                                 ,
   Describe any of the associate's strengths on weaknesses which you feel are materially related to their performance and which are not
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                                                                                                                                                  , ,...,-/- %.1,,         arcl   one  rating
   3. OVERALL RATING FOR P ROD !2.-tse--a 4,>--;) -                                                                                                                      E V                 U


   Date of Review: Sfrk
                                                                                                              REDACTED

   Reviewed associate's signature after review conference:                                                                                                                                 //3
                                                                                                                  Signature                                                               Date



   Reviewer's signature after review conference:
                                                                                                                  Si                                                                      Date

                                                                                                                    nzzym_da,
                                                                                                                  Reviewer's Printed Name                                                   Date




              J: prmsh.wd(re v.2000; 8104;1/07;3/07;6/10)
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       BED BATH &
       BEiroiNuggi
                                                                                                                    MERCHANDISING / STOCK (Page 1 of 2)

       Beyond any
                    store of its
                                   !are Name:
                                                         REDACTED
                                                                                             Store #: jCO3                   Date of review:    s-ite
                                                                              Circle review type & Indicate Date Due:
                    90 DAY REVIEW DUE:                                                                              OTHER (                    Review) due:          gii     /3
                   ANNUAL REVIEW DUE:
                   DATE OF i-lIRE:             Pz
    THIS PERFORMANCE REVIEW IS BEING PREPARED 1W AND/OR A RESULT OP INPUT FROM THE FOLLOWING MANAGERS:
    Printed NanielSO          .1(Akti)_&, ea—                  Signature                                      Position
    Printed Name-B AA-3a tuafrA           .511.1.44 tt12 1-4k,„Signattire                                     Position
                                                               aibistitui.                                    fl/31111.111


    Printed Name                     .._...... .._             )ignaltire                                     Position

    Printed Name                                                 ignat tire                                   Position
    Printed Name                                     .         Signature_ _                                   Position
I
                      KEY: E - Excellent, V1- Very Good, G - Good, N - Needs Improvement, U -lameceptable                                                                             I
                                                                                                                                                               Choose e rating
    (Draw a line throutitnaly skill which isn't stEiVicable.)                                                            ._                                   E V G        U
    CUSTOMER SERVICE SKILLS
    * Understands that the customer is our main priority and consistently maintains a customer focus.                                                         E VC) N             U
    * Ensures a prompt, friendly approach to all customers.                                                                                                   E V tOD N           U
    * Escorts customers seeking location(s) of s milk merchandise.                                                                                            E 0  G N            U
    * Is alert to customer needs and offers a car whenever appropriate.                                                                                 •     E   V 0        N    U
    * Responds quickly to customer inquiries at d "Passes the Buck" whenever necessary.                                                                       E   V   CON         U
    * Complies with Bridal and Gift Registry p gram standards when servicing both registrants
      and guests.                                                                                                                                             E   V ®        N    U
    * Determines customer needs and works to [1dd-on sell.                                                                                                    E   V G e)          U
    * Has developed good product knowledge; keeps abreast of new items and utilizes this knowledge
      to enhance service.                                                                                                                                     E   L' G    N       U
    * Answers the phone promptly and uses prc per phone etiquette.                                                                                            E   V C:02) N       U

    TEAM SKILLS

    * Demonstrates initiative and completes Pr jests in a timely manner.                                                                                      E   V ed N          U
    * Accepts constructive criticism and nets u n it.                                                                                                         E   V G C)          U
    * Maintains a positive outlook toward job.                                                                                                                E      0." N
                                                                                                                                                                  V (:            U
    * Communicates effectively with Manageir ent and other associates.                                                                                        E   V G e.,) U
    * Works the schedule set by the Manager b.it demonstrates flexibility when needs of the
      business dictate.                                                                                                                                       E a  G N            U
    * Is a team player.                                                                                                                                       E V 0  N            U
    * Exhibits professional manner. dress and t ppearanee at all times.                                                                                       E V    N            U

    MERCHANDISING & DEPARTMENT MAINTENANCE
    * Works to maintain selling floor standard., and recovery of the department.                                                                              E   V GG U
    * Is aware of product sell through and completes pull lists.                                                                                              E   VGNU
    * Demonstrates good product knowledge aid uses the information to merchandise the
      selling floor effectively.                                                                                                                              E   0,,,.) a   N    U
    * Understands and utilizes JDA to resolve gelling floor inquiries-                                                                                        E  V el.) N         U
                                                                                                                                                              E V       N         U
    * Adheres to shortage reduction and comp lance procedures.                                                                            .        .
                                                                                                                                                              E 0   G N           U
    * Safely handles equipment and maintains afcty awareness.



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                                                                                                                                                                                             MERCHANDISING / STOCK (Page 2 of 2)

 1. ATTENDANCE & PUNCTUALITY:                                                                                                                                                        Acceptable               Not Acceptable
                                                                                                                                                                                       LravT    c./..-trrA0-pv
2. GOALS AND OBJECTIVES
Objectives Accomplished
List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected from
goats established at previous review or during the period.     .
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Unaccomplished Objectives
List the specific goals and objectives not acepraplished         1
                                                                                 by the associate during the appraisal period, compared with the expected results as
defined in previous review or (wring the perjhil.                                                                   •                         , /
 fe----Q.-4-4.:1/ ;ter,- 1). "•_-_-_14/ -- -k- 4 \ ir ,......S. IA_ v. -,..-1,,- 4---ti    0-,. .d ,...-.2 z."...-4-t,--ec, ;?/:1          --ic /.4-&-t/irtx.e .
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  Goals and Objectives for next Review Period:
  Identify 2-3 quantitative and/or qualitative wiials or objectives the associate should focus on during the next review period. (For each goal or
  objective indicate how accomplishment of goal/objective will be measured and indicate target date for accomplishments.)
.."I   ,%.14.10-^-1...... ....." r --F e ....--,....- - . -----.irr. ,,p- --,,--.--,—,...---,---,,_ • ,••••,,,, ,..,(1.7... i;-...g-1,.. UP -s..,_ ( ---- •-..... .. - -3. -,---r , • ----

                AX-i-Q6?-• ii D (,' ."CS: -...V.,,-.., • tVy. _                                                     r ..x....,„ ...„..„,„, ...,_„.,-A.?                      eftei... 12.,::',1" ..L. ..e.a..-e.:-.49                                       al - ..,
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 Strengths and Weaknesses:
 Describe any of the associate's strengths or weaknesses which you feel are materially related to their performance and which are not
mt../..4,.-..?1,...-.. :.        .
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 3. OVERALL RATING FOR PERIOD P---v'-'0 ••• ,1-''--0 -                                                                                                                              E V GN U
                                                                                ;
                                                    ,
 Date of Review: ..", 4                                        :' ii ' '




 Reviewed associate's signature after review conference:
                                                                                                                                                                                     Signature                                                                                  Date



 Reviewer's signature after.review conference:                                                                                                                                                                                                                              ,    ?
                                        •• -                                                                                                                                                                           •
                                                                                                                                 " •                                                 Si           ti            ".--                                                            Date


                                                                                                                                                                                                                                                           e.
                                                                                                                                                                                     Reviewer's Printed Name                                                                     D to




                                                                                                                                                                                                                                                       •
                         J: prmsh,wd(rev,2000:8/041K17:3/07;6110
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                                                                                                                                                 .PC
                                                                                                MERCHANDISING / STOCK (Page 1 012)
    BED BATH &
    BEIPONICIW
    Beyond eery &Ire of its idnd:
                                  Name:
                                       REDACTED
                                                                            Store #:               Date of review:
                                                              Circle review type & Indicate Date Due:
               40 DAY REVIEW DUE:                                                                  OTHER             Review) due:
               ANNUAL REVIEW DUE:
               DATE OF HIRE:        5POZ
THIS PERFORMANCE REVIEW IS BEING PREPARED BY AND/OR A RESULT OF INPUT FROM THE FOLLOWING MANAGERS:
Printed Name .P7/2-a-eighe"    sz.4         >    Signature                                      ion    "

Printed Name A -).g                              Si                                         Position       rAil

Printed Name                                     Signature                                  Position
Printed Nun                                      Signature                                  Position

Printed Name                                      Signature                                 Position
Printed Name
                        =h-7
                         E k v                    Signature
                                                       Very Good, G - Goo , N - Needs mprove
                                                                                            Position
                                                                                                                                        able
                                                                                                                                     Choose ne rating
(Draw a line throe h_any skill which isn't applicable.                                                                              E V      N U
CUSTOMER SERVICE SKILLS
*   Understands that the customer is our main priority and consistently maintains a customer focus.                                 E   V () N         U
*   Ensures a prompt, friendly approach to all customers.                                                                           E   V 01 N         U
*   Escorts customers seeking location(s) o f specific merchandise.                                                                 E   VG/ ) N        U
*   Is alert to customer needs and offers a cart whenever appropriate.                                                              E   V (I N         U
*   Responds quickly to customer inquiries and "Passes the Buck" whenever necessary.                                                E   V (9:)N        U
*   Complies with Bridal and Gift Registry program standards when servicing both registrants
    and guests.                                                                                                                     E   V [9 N U
* Determines customer needs and works to add-on sell,                                                                               E   V G "(9 U
* Has developed good product knowledge; keeps abreast of new items and utilizes this knowledge
  to enhance service.                                                                                                               E   V   CG) N      U
* Answers the phone promptly and uses proper phone etiquette.                                                                       E   V   CO N       U

TEAM SKILLS
* Demonstrates initiative and completes projects in a timely manner.                                                                E   V0) N          U
* Accepts constructive criticism and acts upon it.                                                                                  E   V      .11‘;   U
* Maintains a positive outlook toward job.                                                                                          E     G N          U
* Communicates effectively with Management and other associates.                                                                    E   V)N            U
* Works the schedule set by the Manager but demonstrates flexibility when needs of the
  business dictate.                                                                                                                 E   VCO N U
* Is a team player.                                                                                                                 E     G N U
* Exhibits professional manner, dress and appearance at all times.                                                                  E   V   NU

 MERCHANDISING & DEPARTMENT MAINTENANCE
 * Works to maintain selling floor standards and recovery of the department.                                                        E    V G (N) U
 * Is aware of product sell through and completes pull lists.                                                                       E    V(G) N U
 * Demonstrates good product knowledge and uses the information to merchandise the
   selling floor effectively.                                                                                                       E    V 6 2    N    U
 * Understands and utilizes JDA to resolve selling floor inquiries.                                                                 E    V        N    U
                                                                                                                                           V
 * Adheres to shortage reduction and compliance procedures.                                                                         E    V93      N    U
 * Safely handles equipment and maintains safety awareness.                                                                         E    V        N    U


          J: prrnsh.wd(rev.2000:8/04;1/07:3/07:8/10)
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                                                                                              MERCHANDISING / STOCK (Page 2 of 2)

 1. ATTENDANCE & PUNCTUALITY:                                                              Acceptable                          Not Acceptable

 2. GOALS AND OBJECTIVES
 Objectives Accomplished
 List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected from
 goals established at previous review or during the period.
                                        cz-ecA,                                                     L        r




 Unaccomplished Objectives
 List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected results as
 defined in previous review or during the period.
                                                                            7/,'"(                                     • de etcl




  Goals and Objectives for next Review Period:
  Identify 2-3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period. (For each goal or
  objective indicate how accomplishment of goal/objective will be measured and indicate target date for accomplishments.)
* 1-1--etxc                      . 4-3                                                                   c                           ki--Cuis."   •• —
     1•49(vie   l -erc,a.                                     <4.A.F7-   rgs
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                                                              6,4(49 7   im--) -7/A-P-0-




  Strengths and Weaknesses:
  Describe any of the associate's strengths or weaknesses which you feel are materially related to their performance and which are not
  addressed elsewhere in this review.

                        Ve4.4/                              r-tgaT-.Je                              \a-c---1.4-•••"--,'---a ),
                        trv-4,                                                  -4-Xe
    e-77144'                                                                                                  .-t-t--c•l•-e,

                                                                                                                                         Circle a rating
• 3. OVERALL RATING FOR PERIOD                                                                                                          E VON           U


  Date of Review:
                                                                                           REDACTED

  Reviewed associate's signature after review conference:                                                                                          a/
                                                                                                                                                         / K /r
                                                                                            Signiture-                                                   Date


  Reviewer's signature after review conference:



                                                                                             &)Nikel             Ro num
                                                                                            Reviewer's Printed Name
                                                                                                                                              cipppite
           J: prmsh.wd(rev.2000:11/04;1/07;3/07:6/10)
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   BED BATH &                           REDACTED
                                                                                                          MERCHANDISING                    / STOCK (Page 1 of 2)


   BEYOND)                                                                                Store #: /6"3      Date of review:                   -
   Beyond ony sore of Its kind' Name:                              .0"
                                                                  Circle review type & Indicate Date Due:
                90 DAY REVIEW DUE:                                                                        OTHER(               Review) due:
               ANNUAL REVIEW DUE:
               DATE OF IIIRE:                        2 1/
TIIIS PERFORMANCE REVIEW IS BEING PREP1IRED BY ANDJOR A RESULT OF INPUT FROM THE FOLLOWING MANAGERS:

Printed Name Hc2t6 iikti -73:-.V.       ,.."'    ignaturc ---t---.... ...----.   ---:-.               Position /1_5   /5."--"y-
Printed Name                                    Signature                                             Position

Printed Name                                    Signature                                             Position
                                                !
Printed Name                                    Signature                                             Position
                                                 1
Printed Name                                    Signature                                             Position
                                                 I
Printed Name                                    Signature                                             Position
                KEY:     E - Excellent, V. Very Good, 6 -: .6 oK
                                                              .-- 171 - - sleeds Improvement,                                     I.   .   ---tcceptable
                                                                                                                                           nt   '—

                                                                                                                                                    Choose one rating
(Draw a line through any skill which isn't applicable.)                                                                                            E V G N U
CUSTOMER            SERVICE        SKILLS

* Understands that the customer is our main) priority and consistently maintains a customer focus.                                              E      V)     N   U
* Ensures a prompt, friendly approach to all customers.                                                                                         E      V (C.) N   U
* Escorts customers seeking location(s) of s ecific merchandise.                                                                                E             N   U
* Is alert to customer needs and offers a cart whenever appropriate.                                                                            E (SD G N         U
* Responds quickly to customer inquiries and "Passes the Buck" whenever necessary.                                                              E V Lti: N        U
* Complies with Bridal and Gift Registry prOgram standards when servicing both registrants
  and guests.                                                                                                                                      E   VON        U
* Determines customer needs and works to add-on sell.                                                                                              E (5)G     N   U
* Has developed good product knowledge; ceps abreast of new items and utilizes this knowledge
  to enhance service.                                                                                                                              E   V      N   U
* Answers the phone promptly and uses prover phone etiquette.                                                                                      E   V Ci N     U

TEAM SKILLS

* Demonstrates initiative and completes projects in a timely manner.                                                                               E   VON        U
 * Accepts constructive criticism and acts up n it.                                                                                                E   V e)   N   U
 * Maintains a positive outlook toward job.                                                                                                        E   V g.) N    U
 * Communicates effectively with Managem nt and other associates.                                                                                  E   V 6.) N    U
 * Works the schedule set by the Manager bu demonstrates flexibility when needs of the
   business dictate.                                                                                                                               E   V      N   U
 * Is a team player.                                                                                                                               E   V a)   N
 * Exhibits professional manner, dress and appearance at all times,                                                                                E   VeN        U

 MERCHANDISING & DEPARTMENT MAINTENANCE
 * Works to maintain selling floor standards d recovery of the department.                                                                         E   V C_d) N   U
 * is aware of product sell through and comp etes pull lists.                                                                                      E   V 8) N     U
    Demonstrates good product knowledge an uses the information to merchandise the
    selling floor effectively.                                                                                                                     E   V      N   U
 * Understands and utilizes JDA to resolve seling floor inquiries.                                                                                 E   V 6)   N   U
 * Adheres to shortage reduction and compli ce procedures.                                                                                         E   V      N   U
 • Safely handles equipment and maintains s fety awareness.                                                                                        E   V      N   U



          J: prmahmd(rev.2000:8/04;1/07:3/07;6/10)
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                                                                                                                            MERCHANDISING / STOCK (Page 2 of 2)

I. ATTENDANCE & PUNCTUALITY:'                                                                                        Acceptable                             Not Acceptable

2. GOALS AND OBJECTIVES
Objectives Accomplished
List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected from
goals established at previous review or during the period.
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              -             f%/7/ r/ 4
                    Gyf",         1,V         e.4. 171-1-714., ',, c:r                                                                . .1yo* * Z•5.




Unaccomplished Objectives
List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected results as
defined in previous review or during the period.




Goals and Objectives for next Review Period:
Identify 2-3 quantitative and/or qualitative go Is or objectives the associate should focus on during the next review period. (For each goal or
objective indicate how accomplishment of go.1   I/objective
                                                 ,          will be measured and indicate target date for accomplishments.)
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—    4./,'       il-,,,                 , •-•.."•7     114 -




Strengths and Weaknesses:
Describe any of the associate's strengths or we                          esses which you feel arc materially related to their performance and which are not
addressed elsewhere in this review.

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                                                                                                                                                                             Circle on rating
 3. OVERALL RATING FOR PERIOD                                                                                                                                                E V                N U

 Date of Review:                 it- /.--,% -/;,11: -
                                                                                                                  REDACTED

 Reviewed associate's signature after review conference:                                                                                                                           /:
                                                                                                                                                                                   ///3//c
                                                                                                                      'Signature                                                                  Dat e


 Reviewer's signature after review conference:                                                                                          -            —
                                                                                                                          Signature                                                               Dat

                                                                                                                            i fieh
                                                                                                                              -r         11,-                     am         1-)                4,- .
                                                                                                                          Reviewer's Printed Name                                                 Date



                J: prmsh.wd(revl00tm04;vo7:3/07:en0)
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                                                                   INVENTORY CONTROL LEAD/SUPERVISOR (Page 1 of 2)
BED BATH &                         REDACTED
                                                                       Store #:
BEIIONE,
Beyond *re of as kind'
                           Name                                                     /et -7'.E'5    Date of review: "7/.1:- /1/
       pry

             THIS PERFORMANCE REVIEW IS BEING PREPARED BY ANDIOR A RE:Mil:FOE tistrtrr FROM THE FOLLOWING MANAGERS:

Printed Name,                                          Signature                                     Position
Printed Name 5.7-^7/A—A,/            ,,,P1/4 „5.       Signatur                              sC)     Position
Printed Name                                           Signature                                     Position
Printed Name                                           Signature                                     Position
Printed Name                                           Signature                                     Position
Printed Name                                           Signature                                     Position
                      KEY: E - Excellent, V - Very Good, G - Good, N - Needs Improvement, U - Unacceptable
PERFORMANCE SKILLS                                                                                                          E V   G        N   U
CUSTOMER SERVICE SKILLS - overall rating                                                                                    E CV)G         N   U
I. Always leads by example the customer service standards which create positive experiences for associates and customers.   E     G        N   U
2. Institutes practices which ensure that all opportunities to enhance customer service are pursued.                        E     G        N   U
3. Complies with Bridal and Gift Registry program standards when servicing both registrants and guests.                     E (SD G        N   U
4. Ensures that customers are viewed as a priority.                                                                         E O   G        N   U
INVENTORY CONTROL SKILLS - overall rating                                                                                   E  V 0         N   U
1. Complies with Company guidelines regarding department signage.                                                           E  V (g)       N   U
2. Ensures selling floor is maintained neatly.                                                                              E C27 G        N   U
3. Ensures stockrooms meet required Company standards (customer ready).                                                     E  V 10
                                                                                                                                  1        N   U
4. Identifies and communicates unique and individual store opportunities. focusing on the core customer's needs.            E  V           N   U
5. Is knowledgeable of all JDA functions and utilizes them to verify inventory integrity.                                   E  V (11)      N   U
OPERATIONAL SKILLS - overall rating                                                                                         E    VON
1. Understands and executes principles of Process Improvement (PI).                                                         E              N   U
2. Knowledgeable of and properly implements safety and loss prevention procedures.                                          E    V (1131   N   U
3. Completes all necessary paperwork accurately and in a timely manner.                                                     E    V   G         U
4. Complies with Company standards for all operational policies and procedures.                                             E    V G           U
5. Understands the financial implications regarding front end and receiving procedures. signage and price changes.          E    V   G         U
6. Works in a safe manner and maintains safe, clean work environment.                                                       E    V         N   U
INTERPERSONAL/MANAGEMENT SKILLS - overall rating                                                                            E    V         N   U
1. Follows instructions.                                                                                                    E    V         N   U
2. Promptly advises Management of any problems.                                                                             E    V         N   U
3. Seeks advice when appropriate.                                                                                           E    V         N   U
4. Ability to prioritize work effectively, control time and meet deadlines.                                                 E    V         N   U
5. Exhibits ability to work independently with minimum supervision: self-starter.                                           E    V         N   U
6. Exhibits ability to accept and act upon constructive criticism.                                                          E,   V         N   U
7. Initiative, self motivation, enthusiasm, attitude and reliability.                                                       E    V         N   U
8. Ability to identify critical issues.                                                                                     E    V         N   U
9. Aptitude for dealing with people (tact).                                                                                 E    V         N
 10. Communicates and works well with Management and other associates.                                                      E    V   G     N   U
 11. Accomplishes objectives with a sense of urgency.                                                                       E    V         N   U
PERSONAL WORK CHARACTERISTICS - overall rating                                                                              E VO           N   U
I. Exercises proper and ethical behavior at all times.                                                                      E <SD G        N   U
2. Works effectively under pressure.                                                                                        E  V           N   U
3. Seeks greater level of responsibility.                                                                                   E V            N   U
4. Willing to work for the good of the Company: is a team player.                                                           ECG            N   U
5. Makes effective use of time.                                                                                             E  V QN




        Inventory Control Lead; rev 8/04; rev 1/07; 06/10
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                                                                INVENTORY CONTROL LEAD/SUPERVISOR (Page 2 of 2)

I. ATTENDANCE & PUNCTUALITY:                                             Acceptable                         Not Acceptable
                                                                                           g
2. GOALS AND OBJECTIVES
Objectives Accomplished
List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the expected results from
goals established at previous review or during the period.
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Unaccomplished Objectives
List the specific goals and objectives not accomplished by the associate during the appraisal period. compared with the expected results as
defined in previous review or during the period.
$5        AO.           ey          acs/4                            ./IeVe


Goals and Objectives for next Review Period:
Identify 2-3 quantitative and/or qualitative goals or objectives the associate should lbcus on during the next review period. (l'or each goal or
objective indicate how accomplishment of goal/objective will he measured and indicate target date for accomplishments.)
        "A, 7;4/A-) /          /91114/-40AV < 70 (--2,-7.•-ipAn./),

—         (-14,-/."-,      A-70/1 "3,110 1714/, ‘-/                                            1,..(4e..7-749A)


Strengths and Weaknesses
Describe any of the associates strengths or weaknesses which you feel are materially related to their performance and which are not addressed
elsewhere in this review.
anigerk            date or, or' 6-5 1 /qt1. -Gilee'f'1, 571        /a./AlewS.5) C/2Chleao            * " C.5 Ga'-5/(
                                                                                                            )



3. OVERALL RATING FOR PERIOD                                                                                           E     V           N    U
       REDACTED
Name:                                                                    Store Name and Number:          1/z --47./11.0/.1 1.lAZ-1,3" /040.3

Date of Hire: 7/7_7fro/7--
                                                                          REDACTED
                                                                                    Date of Review:                        kJ'
    Reviewed associate's signature after review conference:                                                                  V?eteLs-
    Reviewer's signature after review conference:
                                                                             Signature                                                 Date


                                                                           Reviewer's Printed Name                                     Date




          Inventory Control Lead; rev 8/04; rev 1/07; 08/10
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                       EXHIBIT 3
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        BED 3AT- &                          Nann
                                                   R EDACTED
                                                                                        Store #:
                                                                                                   FRONT END LEAD/SUPERVISO

                                                                                                      1Ott-}       Date of review:
                                                                                                                                                    'a _ e 1 of- 7)

        BEYOND
         Beyond arty store of its kind:

         TillS PERFORMANCE REVIEW IS BEING PREPARED BY AND/OR A RESULT OF INPUT FROM THE FOI.I.OWINO MANAGERS:

         Printed NaineVA                                                                                   7-posiinn 6 4;17-1 -4   CI&       14-t itik-DC-0
         Printed Nam              ((te,        f            Signature                                          Postion

         Printed Name                                       Signature                                          Postion

         Printed Name                                       Signature                                          Postion

         Printed Name                                       Signature                                          Postion

         Printed Name                                       Signature                                          Postion



          KEY: E - Excellent, V - Very Cood, C - Good, N - Needs Improvement, U - Unacceptable

         I. PERFORMANCE, SKIiA.                                                                                                    E     V
         CUSTOMER SERVICE - overall ruling                                                                                         E     V
         I , Always leads by example the customer service standards which create positive experiences
             for employees and customers.                                                                                          li    V                    U
         2, institutes practices that ensure all opportunities to enhance customer service are pursued,                            E     V                    it
         3, Complies with Bridal and Gift Registry program standards when servicing both registrants and guests.                   E     V                    U
         4. Ensures that customers are viewed as a priority,                                                                       E     V                    U
        FRONT END SKILLS - overall rating                                                                                          E     V             N
        1. Ensure gill registry purchases are properly recorded.                                                                   E     V    ti       N      U
        2. Maintains staffing levels at registers.                                                                                 E     V             N      U
        3, Completes cashout accurately and in a timely manner,                                                                    •     V     r4      N      I.1
        4. Trains cashiers on new policies and procedures.                                                                         E     V      e      N      U
        5. Ensures GWP and rebate guides are up to date and cashiers are trained on procedures.                                    E     V
        6. Monitors cashier scanning, 0/S + logs; discusses concerns with Management as necessary.                                 E     V     CI      N      II
        7. Communicates security alerts to cashiers.                                                                               F.    V     G
        8. Identifies and communicates unique and individual store opportunities focusing on the core customer's needs.            E     V     (1
        9, Adheres to all PIA) policies and procedures,                                                                            E     V
        10. Ensures all P05 equipment is in working order.                                                                         F     V
        I I, Ensures that annual Certifications and biannual Cart Test arc conducted with all associates.                          •     V     G              I1
        OPERATIONAL SKILLS - overall rating                                                                                        E     V                    U
        1. Understands and executes principles of Process improvement (PI).                                                        E     V                    U
        2. Knowledgeable ()land properly implements safety and loss prevention procedures.                                         E     V                    11
        3, Properly utilizes and acts Upon XBR reports,                                                                            E     V                    lJ
        4. Completes all necessary paperwork accurately and in El timely manner.                                                   E     V                    U
        5. Complies with Company standards for all operational policies and procedures.                                            2     V                    1.3
        6, Ensures department maintenance,                                                                                         E     V                    U
        7. Works in a safe manner and maintains safe, clean work environment.                                                      E     V                    U
        S. Understands the financial implications of udhering to front end policies and procedures.                                2     V                    U
        INTE RPERSONAL/iViANAG EIVIENT SKILLS - overall rating                                                                                         N      U
        I, Follows instructions.                                                                                                   F                   N      U
        3. Promptly advises Management of any problems.                                                                                                N
        3. Seeks advice when appropriate.                                                                                                              N
        4, Ability to prioritize work effectively, control time and meet deadlines,                                                      ✓             N      U
        5. Exhibits ability to work independently with minimum supervision; self-starter.                                                ✓             N      U
        6, Exhibits ability to accept and act upon constructive criticism,                                                               ✓             N
        7. Initiative, self motivation, enthusiasm, attitude and reliability.                                                            •             N      U
        8. Communicates and works well with Management and other associates,                                                       Ii    V             N      u
        9. Aptitude 1bl-dealing with people ((tmt).                                                                                r:    V             N      U
        10. Ability to identify critical issues.                                                                                   E                   N      Li
          t. Aecnt»Mishes objectives with a sense of urgency.                                                                      E CO        U       N
        PERSONAL WORK 0 IARACTE'RISTI CS - overall rating                                                                                ✓                    U
        I, Exercises propertied ethical behavior ut all times,                                                                           ✓             N
        2. Works efibetively under pressure,                                                                                                           N
        3, $ecks greater levet of responsibility.                                                                                                      N      U
        4. Willing to work I'or the good of the Company', is a team player.
        5, Makes effeetiVe k= Or time,                                                                                             fs    V
        FE Load rev. 5/04; 1/07; 07/10
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2017-,10- 11 09:08                                  0815 2195483999 >> Kall8 Fax Server                                                                P 6/16


                                                                                              FRONT END LEAD/SUPERVISOR (Page 2 of 2)

          L ATTENDANCE & PUNCTUALITY:                                       Acceptable                        Not Acceptable

          GOALS AND OBJECTIVES
                                                                                                         --   6    Pir.      -.-A00.S'

         Objectives Accomplished                                                                                                e -rf
          List the specific goals end objectives accomplished by the associate during the appraisal period, compared with the results expected from
         goals established at previous review or during the period.
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          Unaccomplished Objectives
          List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected results as
          (kilned at previous review or during the period.
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          Goals and Objectives for next ieview Period:
          Identify 2-3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period. (For each goal
          or objective indicate how accomplishment 01.gal/objective will be measured and indicate target date for accomplishments_)
         -172-Pr, N                       CA.,k)      e
          HOP-E                  ern                ti.)                                                                      1- 0 -c      ei
          ekkarLE-4,31"              Q


          Strengths and Weaknesses:
          Describe any of the associate's strengths or weaknesses which you feel are materially related to their performance and which are not
                                  in this review_
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          OVERALL RATING FOR PERIOD                                                                                          E                N       U    ,D   .

          Name;
                       REDACTED
                                                                                               Store Name and Number:         10   P7
          Date of Mire:                                                                         Dale of Rcvicw:
                                                                                         REDACTED
                                                                                                                                 974/24-/
          Reviewed associate's signature alter review conference:                                                                   (71 1-1-1[4
                                                                                                                                             Dat

          Reviewer's signature after review eenierenee:                                                                                  ?        Z/ fir
                                                                                             Signature                                       Da

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                                                                                             Reviewer's Printed Natno                        Date




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                                                                                                    MERCHANDISING / STOCK (Page 1                              a    2)
    'BED BATH &                            REDACTED
    BEyora,
     Beyond any cloro of its kind. Name: _                                   _ Store 10:                   Date of review:
                                                                 Circle review type & Indicate
                                                                                            Date Due:
                   90 DAY REVIEW DUE;                                                              OTHER (                   Review) due:
                  ANNUAL REVIEW DUE;
                  DATE OF HIRE;
  THIS PERFORMANCE REVFy IS              ING PREPARED BY AND/ R A RESULT OF                'I' FROM THE FOLLOWING MANAGE' RS:
  Printed Name (t         -A 41 e-                   Signature                                 Position
  Printed Nunn:                                      Signature                                 Position

  Printed Name                                       Signature                                 Position

  Printed Name                                       Signature                                 POHitiort

  Ptinted Mine                                       Signature                                 Pumition

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                   KEY:1       -"     Cellelit,    V -: Very GoOd, G - U a7
                                                                         . ,N
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                                                                                , eeds Improvement,- 7:7r;i
                                                                                                        - i                                 u&R''fd
                                                                                                                                             Choose ne rating
    l_r„aw'a.line through anyskill which isn't a
   _c_l                                              SjiCable.                                                                              E V       N tl
  CUSTOMER SERVICE SKILLS
  * Understands that the customer is our main priority and consistently maintains a customer focus.                                         E    V G
    Ensures a prompt, friendly approach to all customers.                                                                                   E    VG            U
  '1` Escorts customers seeking location(s) of specific merchandise.                                                                        E    V         N   U
  * Is alert to customer needs and offers a cart whenever appropriate.                                                                      E    V O       N   U
  * Responds quickly to customer inquiries and "Passes the Buck" whenever necessary.                                                        E    V         N   U
  * Complies with Bridal and Gift Registry program standards when servicing both registrants
      and guests.                                                                                                                           E    V G
  • Determines customer needs and works to add-on sell.                                                                                     E    V G
  * Has developed good product knowledge; keeps abreast of new items and utilizes this knowledge
    to enhance•service.                                                                                                                     E    V         N   U
  * Answers the phone promptly and uses proper phone etiquette.                                                                             E    V         N   U

  TEAM SKILLS

  * Demonstrates initiative and completes projects in a timely manner.                                                                      E    V         N
  * Accepts constructive criticism and Ws upon it.                                                                                          E    V         N   U
  * Maintains a positive outlook toward job.                                                                                                E    V
  * Communicates effectively with Management and other associates.                                                                          E    V
  * Works the schedule get by the Manager but demonstrates flexibility when needs of the
    business dictate.                                                                                                                       E    V i       N   U
  * Is a team player.                                                                                                                       E    V         N   U
  * Exhibits professional manner, dress and appearance at all times.                                                                        E    V             Lf

  MERCHANDISING & DEPARTMENT MAINTENANCE
  * Works to maintain selling floor standards and recovery of the department.                                                               E    V         NU
  * Is aware of product sell through and completes pull lists.                                                                              E    V         N   U
  * Demonstrates good product knowledge and uses the information to merchandise the
    selling floor effectively.                                                                                                              E    V         NU
  * Understands and utilizes JDA to resolve selling floor inquiries.                                                                        E    V         NU
  * Adheres to shortage reduction and compliance procedures.                                                                                E    V         NU
  * Safely handles equipthent and maintains safety awareness.                                                                               E    V     i   NU



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                                                                                          MERCHANDISING / STOCK (Page 2 of 2)

  1. ATTENDANCE & PUNCTUALITY:                                                         Acceptable                  Not Acceptable ? 4:: 2)

  2. GOALS AND OBJECTIVES
  Objectives Accomplished
  List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected from
  goals established at previous review or during the period.




  Unaccomplished Objectives
  List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected results as
  defined in previous review or during the period.




  QoalS and Objectives for next Review Period:
  Identify 2.3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period. (For each goal or
  objective indicate how accomplishment of goal/objective wilt be measured and indicate target date for accomplishments.)
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  Strengths and Weaknesses:
  Describe any of the associate's strengths or weaknesses which you feel are materially related to their performance and which are not
  addressed elsewhere in this review.
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  3. OVEPALL RATING FOR. PERIOD                                                                                              E Vj               CJ

  Date of Review:                  (c                                            REDACTED

  Reviewed associate's signature after review conference:
                                                                                       Signature                                              Date


  Reviewer's signature after review conference:
                                                                                       Signature                                              Date


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                                                                                                                                                Date



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                Case: 1:17-cv-05124 Document #: 62 Filed: 12/20/17 Page 23 of 48 PageID #:1293
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    134yond any tiara of its kind`    Name:                                     Store #:        /40            Date of review:
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                 DATE OF HIRE:
 '1'm5 PERFORMANCE REVIE
                       ey              IS BEING P2.EPARED BY AND/C;T" RESUI;I: OF INI71.1T FROM 'HIE FOLLOWING MANAGERS;

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 Printed Name                                       Signature                               /      Position

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 Printed Name                                       Signature                                      Position
                        Y; E - Excellent, V - Very Good, G - Good, N - Needs Improvement, U - Unacceptable
                                                                                                                                                    Choose one rating
 (Draw a line through any skill which isn't applicable.)                                                                                        E     VGNU
 CUSTOMER SERVICE SKILLS
 * Understands that the customer is our main priority and consistently maintains a customer focus.                                              E         G N        U
   Ensures a prompt, friendly approach to all customers_                                                                                        E     V 41       N   U
 * Escorts customers seeking location(s) of specific merchandise,                                                                                     V          N   U
 * Is alert to customer needs and offers a cart whenever appropriate.                                                                           E     V   GIN        U
 * Responds quickly to customer inquiries and "Passes the Buck" whenever necessary.                                                             B     V el N         U
 * Complies with Bridal and Gift Registry program standards when servicing both registrants
   and guests.                                                                                                                                  E     V G            U
 * Determines customer needs and works to add-on sell.                                                                                          E                    U
 * Has developed good product knowledge; keeps abreast anew items and utilizes this knowledge
   to enhance service.                                                                                                                          E     VON            U
   Answers the phone promptly and uses proper phone etiquette.                                                                                  B     V I t11 N      U

 TEAM SKILLS

 * Demonstrates initiative and completes projects in a timely manner.                                                                                     G N
   Accepts constructive criticism and acts upon it.                                                                                                       G N
 * Maintains a positive outlook toward job.                                                                                                               G N        U
 * Communicates effectively with Management and other associates.                                                                                     V          N
 * Works the schedule set by the Manager but demonstrates flexibility when needs of the
   business dictate.                                                                                                                            E                N   U
 * Is a team player.                                                                                                                                      G N
 * Exhibits professional manner, dress and appearance at all times.                                                                             E     V      '   N   U

 MERCHANDISING & DEPARTMENT MAINTENANCE
 * Works to maintain selling floor standards and recovery of the department,
 * Is aware or produeL sell through and completes pull lists.
 * Demonstrates good product knowledge and uses the information to merchandise the
   selling floor effectively.                                                                                                                   E     V          N   U
 * Understands and utilizes IDA to resolve selling floor inquiries.                                                                             B     V   G      N   U
 * Adheres to shortage reduction and compliance procedures.
                                                                                                                                                      \          N   U
   Safely handles equipment and maintains safety awareness,                                                                                     E     V Ci N         U



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                                                                                         MERCHANDISING / STOCK (Page 2 of 2)

 1, ATTENDANCE           & puNcivAISYY:                                               Acceptable                  Not Acceptable


 2. GOALS AND OBJECTIVES
 Objectives Accomplished
 List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected from
 goals estabrd at pre              few o    ring the period.

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 Unaccomplished Objectives
 List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected results as
 defined in previo
               / is vview or during the period.




 Goals and Objectives for next Review Period:
 Identify 2-3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period. (For each goal or
 objective indicate how accompli hment of goaI/objective will be measured and indicate target date for accomplishments.)
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 Strengths and Weaknesses:
 Describe any of the associate's strengths or weaknesses which you feel are materially related to their performance arid which are not
 addressed elsewhere in this review.
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 3. OVERALL RATING FOR PERIOD                                                                                               E V G N U


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 Reviewer's signature after review conference:
                                                                                      Signature                                              Date


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                                                                                      Reviewer's Printed Name                                  Date



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       Beyond any of kind,       Name:                                           Store #: CYbi" Date of rev liew151 I
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                  3(--RE-NLIE.W.ZUt                                v                OTHER (___ ____ Review) due:
                NUM., REV IE'W 131„/F,. . 0 (117- t.T6.17`.71-0 TS-
              DA       ERE:
  THIS 'PERFORMANCE REVIEW IS 13EING PREPARED BY AND/OD J .1112:SIULT OP INPUT FROM THE FOLMINING MANAGM
  Printed NameAl          i rn          Li;         sienewro             ,                        Position   30         '$1,1":).E V-ta 101„,D
  Milted Name                                       Signature_                                  1
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                   KEY: E Excellent, V - Very Good, G - Good, N Needs IroprovetneWnacceptable
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  (Draw 4 line throlgh any skill which isn't agaleabte.)                                                   ...=.09111fda.   -•
                                                                                                                                             E V        N U
  CUSTOMER SERVICE SKILLS
  * Understands that the customer is our main priority and consistently maintains a customer focus.                                                     N       U
  * Ensures a prompt, friendly approach to all customers,                                                                                                N
  * Escorts customers seeking location(s) of specific merchandise.                                                                                      N
   • Is alert to customer needs and offers a cart whenever appropriate.                                                                                 N
   * Responds quickly to customer inquiries and "Passes the Buck" whenever necessary_                                                                   N       U
  .* Complies with Bridal end Chit Registry program standards when servicing both registrants
     and guests.                                                                                                                             E   V G            U
  u' Determines customer needs and works to add-on sell.                                                                                     E   V G
  * Has developed good product knowledge; keeps abreast of new items and utilizes this knowledge
     to enhance service,                                                                                                                     E   V      N
  *. Answers the phone promptly and uses proper phone etiquette..                                                                            E   V       N      Lf

  TEAM SKILLS
    demonstrates initiative and completes projects in a timely manner.                                                                       E   VON            U.
  * Accepts constructive criticism and acts upon it.                                                                                         E
  • MaintainS a positive outlook toward job.                                                                                                 E   V      N
  * Communicates effectively with Management and other associates.                                                                           E   VON            U
   * Works the scheduic•set by the Manager but demonstrates flexibility when needs of the
     business dictate,                                                                                                                       B   V Cl N         U
  * Is a team player.                                                                                                                        E   V Ca N         U
  • Exhibits professional manner, dress and appearance at all times.                                                                         E   V Ci N
                                                                                                                                                        1119==,..1,VAIN,


  MERCHANDISING & DEPARTMENT MAINTENANCE
  * Works to maintain selling floor standards and recovery of the department.                                                                E   V G N . 'U
   *   is aware of product sell through and completes pull lists,                                                                            E   V Cl
  * Demonstrates good product knowledge and uses the information to merchandise the
    selling floor effectively.                                                                                                               e v ci             u
  * Understands and utilizes IDA to resolve selling floor inquiries.                                                                         E   V 0
  * Adheres to shortage reduction and compliance procedures.                                                                                 E   VCi NU
  • Safely handles equipment and maintains safety awareness.                                                                                 E   V   N U



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                                                                                                   MERCHANDISING I STOCK (Page 2                          of 2)

      1. ATTENDANCE & PILINCTUAMY:                                                            Akceptabic                     Not. Acceptable


   2. GOALS AND OBJECTIVES
   Objectives Accomplished
   List the specific goals and Objectives accomplished by the associate during the appraisal period, compared with the results expected from
   goals established at previous review or during the period,
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       Unaccomplisbed Objectives
       List the specific goals and objectives not accomplished by tile >isseciate during the appraisal period, t:orripared with the expected results as
       defined in previous review or during the period.




       Coals and Objectives for next Review retied:
       Identify 2-3 quantitative aud/or qualitative goals or objectives the associate should focus on during the next review period. (For each goal or
       objective. indicate how accomplishment of goal/objective will be measured and inclicale Uri: date for aecomplishments.)
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       Strengths and Weaknesses:
       Dent     irny of the associates strengths or weaknesses which you feel are materially related to their performance and which arc not
       addressed elsewhere in this review.

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       3. OVERALL .R.ATING FOR PERIOD                                                                                                 E V            N

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 Tam PERFORMANCE REVIEW IS BEING PREPARro rtv Amy;                                                                  INPUTyROM THE FOLLOWING MANAGERS:
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                               KEY: E - Excellent, V - Very                  Good,              G - Conti,           N - Needs Improvement,          U - Unacceptable

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 (Draw a line through any skill which isn't applicable.)                                                                                                            .11',   V . Cr; N         111
 CUSTOIVIER                            SERVIC:0;    SKILLS

     Understands that the customer is our main priority and consistently maintains a customer focus.                                                                E       VON               11
     Ensures a prompt, friendly approach to all customers.                                                                                                                  yr ll       N     11
     Escorts customers seeking InCfati CV(s) of speci tic:itie:rch.ulllise.                                                                                         E       V     i     N     1. 1
     Is alert to customer needs and offers a cart whenever' appropriate.                                                                                            E       V Ci        N     tl
     Responds quickly to customer inquiries and "Passes the Buck" whenever necessary.                                                                               E       V           N     U
     Complies with Bridal and Gift Registry program standards when servicing bc)111 registrants
     and guests.                                                                                                                                                    E       V(C) N            tI
 e. Determines customer needs kind works to add-on sell.                                                                                                            It                  N     U
     Has developed good product knowledge; keeps abreast of new items aird utilizes this knowledge
     to enhance service.                                                                                                                                                         O      N     lI
     Answers the phone promptly and uses proper phone etiquette,                                                                                                                 G      N
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 TEAM SKILLS
 4   Demonstrates initiative and completes projects in a timely mariner.                                                                                                                N     LI
 * Accepts constructive criticism and acts upon it.                                                                                                                                     N     U
 * Maintains a positive outlook toward job_                                                                                                                                             N     tl
 * Communicates effectively with Management. and other associates,                                                                                                  I r l V ti          N     tl
 * Works the schedule set by the Manager hut demonstrates flexibility when needs of the
   business dictate.                                                                                                                                                is           G      N
 * Is a team player_                                                                                                                                                                    N
 * Exhibits professional manner, dress and appearance al all                                times.                                                                               (13) N
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 MERCHANDISING & DEPARTMICAT MA I NTKNANCE
 * Works to maintain selling floor standards and recovery of the department,                                                                                                            N     U
 * Is aware of product sell through and completes pull lists.                                                                                                                           N     U
 * Demonstrates good product knowledge and LISCS the information to merchandise the                                                                                         ).1 3
   selling floor effectively.                                                     „, •                                                                                      V G         NU
 * Understands and utilizes JDA to resolve selling floor inquiries.                                                                                                 it           G      N     U
 * Adheres to shortage reduction and wriipliano, procedures.                                                                                                        E       V           N     U
 * Safely handles erpripmeill and maintains safety awareness.                                                                                                       E       VG          N     tl



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                                                                                           MERCHANDISING / STOCK (Page 2 of 2)

 1. ATTENDANCE & PIJNCTLIA.LITY:                                                       Acceptable                  Not Acceptable


 2. COALS AND OBJECTIVES
 Objectives Accomplished
 List. the specific coals and objectives accomplished by the associate ("mini; the appraisal period, compared with the results expected (runt
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 Iht accomplished Objectives
  ist the specific p,oals and objectives not accoinplished by the associate &win!), the appraisal period, compared with the expected results as
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 Coals and Objectives for next Review Period:
 Identify 2-3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period. (For each goal or
 objective indicate how accomplisitinent 0114ml/objective will be measured and indicate target date Ibr aceoniplishments.)
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 Strengths and Weaknesses:
 Describe any of the associate's strengths or weaknesses which you ft:el are materially related to their perlbrmancc and which are not
 addressed elsewhere in this review_
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 3. OVERALL RA              MG FOR PERIOD                                              kV*

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 Reviewer's signature after review conference:




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  CUSTOMER               smvxct SKILLS
  • Understands that the customer is our main priority and consistently maintains a customer focus.                                       E   V GN          U
  * Ensures a prompt, friendly approach to all customers.                                                                                 E   V    G
  • Escorts customers seeking location(s) of specific merchandise.                                                                        E   V             U
  * Is alert to customer needs and offers a cart whenever appropriate.                                                                    E   V    0
  * Responds quickly to, customer inquiries and "Passes the 1:Itick" whenever necessary-                                                  E   V 0
  * Complies with Bridal and Gift Registry program standards when servicing both registrants
      and guests.                                                                                                                         E   V G      h    1i
  * Determines dustomer needs and works to add-on sell.                                                                                   E   V    G
  * Has developed good product knowledge; keeps abreast of new items and utilizes this knowledge
    to enhance•service,                                                                                                                   E   V C:)‘N       U
  * Answers the•phone promptly and uses proper phone etiquette.                                                                           E   VONU

  TEAM SKILLS
  * Demonstrates initiative and completes prcijects in a timely manner,                                                                   E   V    G        U
  *
      Accepts     constructive criticism and acts upon it.                                                                                E   V 0       ,/ I.J -
  * Maintains a positive outlook toward job.                                                                                              E   V 0
  * Communicates effectively with Management and other associates-                                                                        E   V G           LI
  * Works the schedule set by the Manager but demonstrates flexibility when needs of the
    business dictate-                                                                                                                     E   V    C   N, U
  * is a team player,                                                                                                                     E   V G ,N. U
  * Exhibits professional manner, dress and appearance at all times.                                                                      E   V        N    U

  MERCHANDISING & DEPARTMENT MAINTENANCE
  * Works to maintain selling floor standards and recovery of the department.                                                             E   V 0           U
  * Is aware of product sell through and completes pull lists,                                                                            E   V    r , N    U
  * Demonstrates good product knowledge and uses the information to merchandise the
      selling floor effectively.                                                                                                          E   V5       )N   U
  * Understands and utilizes JDA to resolve selling floor inquiries.                                                                      E   V        N    U
  * Adheres to shortage reduction and compliance procedures.                                                                              E   VC       N    U
  * Safely handles equipment and maintains safety awareness.                                                                              E   V        N U



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                                                                                            MERCHANDISING / STOCK (Page 2 of 2)

 1. ATTENDANCE & PLINCTeALITY:                                                           Acceptable_T          A           Not Acceptable

 2, GOALS AND OBJECTIVES
 Objectives Accomplished
 List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected from
 goals established al previous review or during the perio
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  Unaccomplished Objective
  List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected results as
  defined in previou review or d ut t period.
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  Goals and Objectives for •next Review Period:
  Identify 2-3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period. (For each goal or
  objective indicate how accomplishment ?goal/object' e will he measured and indicate target date for accomplishments.)
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 Strengths and 'Weaknesses:
 Describe any of the associate's strengths or weaknesses which you feel are materially related to their performance and which are not
 addressed elsewhere in this review.
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  Date of Review:                                                        Ltd,                          FYI
                                                                                REDACTED
  Reviewed associate's signature after review conference:                                                                                      E/ZW/5--
                                                                                    ---SriErra tITr                                                Date


  Reviewer's signature after review conference:




                                                                                         Reviewer's Printed Name



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                                                                                                         MERCHANDISING / STOCK (Page 1 of 2)
       'BED BATH ex                       REDACTED
       BEYONCiv                      „
       ikwod any Ttore of its kW: Name;                                             Store                       Date of review:
                                                                      Circi‘levimv type & Indicate Date Mt:
                    90 DAY REVIEW 1)UE:                                                                  °THU. L                  Review) due:
                   ANNUAL REVIEW DUE:
                   DATE OF HIRE;
  THIS PERFORMANCE It VIEW I            EING PREPARED 1ST AN                   ESOLT OF INPUT FROM THE FOLLOW!,            M      AC ERS;
  Printed Name \                                         Signature           „14‹'/'",?i -7          Position

  Printed Name                                           Signature                                   Position

  Printed NM*:                                          • Signature                                  Position

   Printed Name                                          Signature                                  ['mitten

  Printed Name.,                                         Signature                                   Position
  Printed Name                                           Signature                                   Position
                    KEY:        - Excellent, V - ery Good,                      - Good,        - Needs Improvement, IJ
                                                                                                                                                  Ch ose one rating
  (Dray,/• a line through any skill which islet applitablg,)                                                                                     E     C N U
   CUSTOMER SERVICE SKILLS
  * Understands that the customer is our main priority and consistently maintains a customer focus.                                              E    p   0    N    U
  * Ensures a prompt, friendly approach teal! customers.                                                                                         E        G    N    U
  * Escorts customers seeking location(s) of specific merchandise.                                                                               E    0 G N         U
  * Is alert to customer needs and offers a cart whenever appropriate.                                                                           E     V    N       U
  * Responds quickly to customer inquiries and "Passes the Buck" whenever necessary.                                                             E       4a N       U
  * Complies with Bridal and Gift RegiStry prograinstandards when servicing both registrants                                                                  rrr
    and guests.                                                                                                                                  E    VG            U
  * Determines customer needs and works to add-on sell.                                                                                          E    VG            U
  '4' Has developed good product knowledge; keeps abreast of new items and utiliies this knowledge
      to enhance service.                                                                                                                        E             N    U
  * Answers the phone promptly and uses proper phone etiquette.                                                                                  E    V C
                                                                                                                                                        G      N    U

  TEAM SKILLS

  .1 Demonstrates initiative and completes projects in a timely manner.                                                                                   G N
   * Accepts eonstruotive criticism and acts upon it.                                                                                                     G    N    U
  * Maintains a positive outlook toward job,                                                                                                              G N       U
    COmmunicates effectively with Management and other associates.                                                                               E        G N
  * Works the.schcdule 'set by the Manager but demonstrates flexibility when needs of the
    business dictate.                                                                                                                            It   VON           U
   *
     a team player.
       is                                                                                                                                                 0 N
  * Exhibits professional manner, dress and appearance at all times,                                                                                      G N
                                           1...glAT:9101117e


  MERCHANDISING & DEPARTMENT MAINTENANCE
       Works to maintain selling floor standards and recovery of the department.                                                                          G    N
  * is aware of product sell through and completes pull lists.                                                                                            G    N    U
   41 .Demonstrates good product knowledge and uses the information to merchandise the
    selling floor effectively.                                                                                                                            0    N    U
    Understands and utilizes IDA to resolve selling floor inquiries,                                                                                           N    U
  * Adheres to shortage reduction and compliance procedures.                                                                                                   N    Cf
       Safely handles equipment and maintains safety awareness,                                                                                                •    U



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                                                                                               MERCHANDISING / STOCK (Page 2 of 2)

  1. ATTENDANCE & PUNCTUALITY;                                                             Acceptable   4•) <         Not Acceptable

   2. GOALS AND OBJECTIVES
   Objectives Accomplished
  'List the specific goals and objectives accomplished by the assoolate during the appraisal period, compared with the results expected from
   goals established at previous review or during the period.




  Unaccomplished Objectives
  List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected results as
  defined in previous review or during the period. •




   Goals and Objectives .fir next Review Period:
   Identify 2-3 quantitative and/Or qualitative goals or objectives the associate should focus on during the next review period. (For each goal or
   objective indicate how accomplishment of goal/objective will be measured and indicate target date for accomplishments.)
   Ttuktt4 SID                   Utu)                             itcwo       maw           laiwy


  Strengths and Weaknesses:
  Describe any of the associate's strengths or weaknesses which you feel are materially related to their performance and which are not
  addressed elsewhere in this review.
REDACTED
                                       601-to                                                                         T
    1111MITMINCTI.Rfi                                    r2kir-                              iTY.W1V              ,       r
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                                                                                  1     relliMINalent                     li


                                                                                                                                Circl One rating
  3. OVERALL RATING FOR PERIOD                                                                                                             N U


   Date of Review:
                                                                                        REDACTED
   Reviewed associate's signature after review conference:



                                                                                                                                       I0
   Reviewer's signature after review conference:
                                                                                           Signature                                           Dc to

                                                                                                                                         °17-A
                                                                                           Reviewer's Printed Name                                   te
                                                                                                                                                     to



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                       EXHIBIT 4
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                                 ASSOCIATE DISCIPLINARY NOTICE

Employee's Name:REDACTED                           Date: 6/8/15
Date of hire: 3/24/05                              SS#: XXX-XX-7386              Store #: 1003

Circle one:           Termination                          Warning

A. Reason(s) for notice (check applicable reasons and explain in section B):
1. ( ) Absence (indicate if unreported, excessive, etc.)   4. (X) Failure to follow directions
2. ( ) Tardiness                                           5. ( ) Violation of company rules
3. (X) Improper conduct          i                         6. ( ) Other (Performance)

                                      REDACTED
   Facts leading to the discipline:
   On Monday 5/18/15 David lad a verbal altercation with his leader on duty (LOD) Kathy Quid while
   searching for merchandise iii the stockroom.         raised his voice and yelled at      in response
   to her questioning his actions and providing him direction. This yelling was overheard by other
   associates including a manager on the sales floor. When         was spoken with by HR and by SM
          he admitted frustration and denied threatening        , but agreed he may have raised his voice.
   By doing so          has violated Bed Bath & Beyond policy forbidding unprofessional conduct.
   has previously been spoken with regarding his unprofessional conduct, most recently by SM
   who coached           on 4/29/15 for making an inappropriate gesture using his middle finger during a
   morning store huddle. A note was placed in           file documenting this conversation. Behaving in a
   manner that is unprofessional is a job performance, customer service, and workplace environment
   issue.

                                                       REDACTED
    Describe the Company expectations of employee:
    Bed Bath & Beyond expects all associates at every level to behave in a manner that is professional and
    respectful when dealing with customers and each other. These policies regarding mutual respect and
    anti harassment are found in the associate handbook on pages 6-9 and also on pages 40-44 which list
    actions that are considered Improper or inappropriate.           is expected to adhere to the policies
    listed in the handbook and if he has a question or disagreement to conduct himself in a manner that is
    courteous and considerate ofi others. Failure to do so will be considered an issue of negative workplace
    behavior.

    Next disciplinary step:
    Continued violation of the aforementioned or any other violation of company policy or standard may
    result in further disciplinary action up to and including termination of employment.

                                                                         REDACTED
                                    /5-
                                     Manager's Name Date                  Employee's Signature Date
                                                                          (This signature indicates that
                                                                          employee is aware of this notice.)


              Signature Date         Manager's Signature    Date


(Once completed and signed, file in employee's personnel file.)
                                                                                 HR 026A 6/98
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                       EXHIBIT 5
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 BED BATH &                            RECEIVING/MAINTENANCE/OVERNIGHT PERFORMANCE REVIEW (Page 1 of 2)
                                            REDACTED
BEVONIDO                            Name:                                                Store if: W I)   Date of review:
 Beyond any store of its kind:

                                                              Circle review type & Indicate Date. Due:
                                  90 DAY REVIEW DUE:                                           OTHER (         Review) due:
                                 ANNUAL REVIEW DUE: 1, g\s
                                        DATE OF HIRE: \Q
          11115 PERFORMANCE REVIEW IS BEING PREPARED BY AND/OR A RESULT OF INPUT FROM                     TILE FolA.OWING MANAGERS:

Printed Name 0Cti4k                                        Signature                                       Position         7OA V--
Printed Name'Rnrhel                                        Signatur adiAlot                ( 8)            Position h()fdp, iric
Printed Name        j;                                     Signature                                       Position S'Ittf 4
Printed Name                                               Signature                                       Position
Printed Name                                               Signature                                      Position
Printed Name                                               Signature                                       Position
             KEY: E,- Excellent, V - Very Good, G - Good, N - Needs Improvement, U - Unacceptable
(Draw a line through any skill which isn't applicable.)                                                                       E   V G N
CUSTOMER SERVICE SKILLS
* Understands that the customer is our main priority and consistently maintains a customer focus.                                     CA N
* Escorts customers seeking location(s) of specific merchandise.                                                              E VON U
* Is alert to customer needs and ofti.:rs a cart whenever appropriate.                                                          VON U
* Responds quickly to customer inquiries and "Passes the Buck" whenever necessary.                                            E   V G    N   U
* Complies with Bridal and Gift Registry program standards when servicing both registrants
  and guests.                                                                                                                 E   V (i N     U
* Answers the phone promptly and uses proper phone etiquette.                                                                 E   V Ci) N
* Non-selling work is completed with no disruption to customer service.                                                       E   V t) N     U

TEAM SKILLS

* Demonstrates initiative and completes projects in a timely manner.                                                          E   V G    N: U
* Accepts constructive criticism and acts upon it.                                                                            E   V G. N     U
* Maintains a positive outlook toward job.                                                                                        VGN        U
* Communicates effectively with Management and other associates.                                                              E   V Ci   N   U
* Works the schedule set by the Manager but demonstrates flexibility when needs of the
  business dictate.                                                                                                           E   V G N      U
* Is a ttam player.                                                                                                           E   V G N      U
* Exhibits professional manner, dress and appearance at all times.                                                                    G N

MERCHANDISING & DEPARTMENT MAINTENANCE
* Works to maintain selling floor/stockroom standards and recovery of the department.                                         E   V6N        U
* Maintains a clean, orderly and safe work area.                                                                              E   V      NU
* Adheres to shortage reduction and compliance procedures: follows special operating procedures
  of the department.                                                                                                          E V ON U
* Understands and utilizes JDA to resolve selling floor/stock inquiries.                                                      E   V      N   U
* Completes pull lists quickly and accurately.                                                                                E   VON        U
* Safely Irmdles equipment and maintains a safety awareness.                                                                  E   V      N U
* Communicates problems/progress of daily assignments to supervisor.                                                          E VON          u




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                       EXHIBIT 6
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         BED BAT- &                                          "riS:CE 'VALUES"'                                                    ee
         Ersvoinum
         Beyond any store of its kind:
                                                                                                                                           '4 1



ASSOCIATE SEPARATION FORM (Use this form whenever an associate resigns or is terminated)
            1, Complete and review sections 1-11 below                                               2. Ensure that separating associate reads section 10 and signs as indicated
            3. Review and confirm all hours; change status in Time & Attendance                      4. If applicable, submit final pay request to Corporate Payroll
            5. CT, GA, LA, MA, NJ, NM, NY and TN:                                                    6. Notify Talx/UC Express via WebSep
                      Process your STATE'S SEPARATION NOTICE

                                                                                                       REDACTED
1. NAME: 1)6)-1)4 3 '?u.??                                           SOCIAL SECURITY #                                                        STORE #
2, JOB CLASSIFICATION (check one):                                            Part Time                                      Full Time                              Mgint
                                                                  (Less than 35 hrs per wit)                 (35 or more hrs per wit)
3. START DATE:                 /0.-/ 77.406a         LAST DAY WORKED:Q2/14/Joi 6                                      SEPARATION DATE: =9-4/720 r
                                                      (this date represents the last day the associate                (see     at bottom of form for situations where SEPARATION
                                                                   physically worked)                                              DATE differs from LAST DAY WORKED)
4. REASON FOR LEAVING - Check all that apply:
RESIGNATION/VOLUNTARY:                    TERMINATION/INVOLUNTARY:              TALIOUCEXPRESS CODE USED:
    Better Job Opportunity                    __Job Elimination                      s7 as)
    Return To School                           V Poor Performance
    Medical                                   _Misconduct 'TI?               /SEPARATION PROCESSED THRU WEB SEP
    Job Abandonment                          _Other          GA Ve' 2(„,,Wts    (Check box once completed)
    Scheduled Work Hours 0 too many / 0 too few
    Other (Give specific reason)
5. C9MPANY PROPERTY RETURNED - Check all that apply:                                                         6. BENEFITS - Check, if applicable:
   v Keys (store, terminals, thermostats)                                                                          Associate informed of COBRA
    .-"-Alarm, telephone and computer access codes erased
   _ .‘Associate loans repaid in full
   _Name Badge
        Other




1
 . INAL PAY - Check all that apply:                                                                          8. CURRENT ADDRESS:
     Vacation/Floating Holiday/Comp. day adjustment made
     in Time & Attendance                                                                                    Address         at' C* 57-4-2. VtIr Or
      Indicate plus or minus days for vacation adjustment:
      Indicate Floating Hol/Comp. days owed (if applicable)
     Associate/Employer agree on final check:
     Based on      days worked for salaried associates                                                       City
     Based on      hours worked for hourly associates
     Associate received final check today in the amount of $
     If applicable associate loan paperwork forwarded to payroll                                             State                 cJ                        Zip Code           17/6/ 47
     Associate will return to store to pick up check on
  _If applicable, final paycheck mailed to Address noted in #8
9. USE BACK. SIDE OF THIS FORM FOR ASSOCIATE COMMENTS, IF ANY.
10. Separating associate is to read this section before signing form:
    • An adjustment may be made to your final paycheck for any vacation time you had taken but not yet accrued, or that you had accrued but not yet
           taken, Any such adjustment is set forth above hi Section 7.
     •     As you leave us, we wanted to remind you of your continuing obligation not to disclose to anyone any confidential business and/or propiletary
           information regarding Bed Bath & Beyond and its operations. Please also make sure you have returned all documents and other items such as
           records, computer files, computer disks, manuals and notes relating or belonging to the company. You may not take any such materials with you.
           These things are important to the company, as you may remember from your associate handbook, and that Is why your obligation of confidentiality
           continues even after you leave employment with us.
     I fully understand the information that I read in Section 10. If there is anything that I did not understand, I have asked for an explanation.
     Associate's Signature:                                                                                                                                     Date
11. Supervisor's Signature:                                                                                                                                     Date
    Store Manager's/Corp Counterpart's Signature:                                                           ---                                                 Date      PX7/21)
** EXAMPLES OF SEPARATION DATE DIFFERING FROM LAS                                                  WORKED:
     o     The Last Day Worked was actually different from tho resignationfrermination date.
     o     Job Abandonment: when an associate is absent from work Ss doss not notif1r the store fora apecitio period of tiro; separation date is the date that The decision was made to separate
           employment.
     o     Failure to return from LOA/WC: the separation date is ne dote that the aosooiste was scheduled to return from an approved LOA or WC leave.
     o     Failure to return from vacation: the separation date is the date in which the associate was scheduled to return from an approved vacation.
                                                                                                               RR 043-1A & 1B -2/99; 6/01;         5/02; 5/04; 8/04; 2108; 3/10; 2/11; rev 5/12
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    Performance Improvement Plan

    Dennis Popp

    Assistant Store Manager

    Store # 363

    As a manager for Bed Bath & Beyond there are certain specific expectations regarding store standards,
    customer service and general conduct. It has been determined, based on the examples listed below,
    that Dennis Is not meeting these expectations and in an effort to rectify this and assist Dennis in
    improving his performance a plan has been created and will be implemented beginning today.
    Compliance will be monitored on a bi-weekly basis and notes / discussions regarding improvement or
    digression from the plan will be noted. After sixty days Dennis's performance will be re-evaluated
    based on the expectations outlined, subsequent to the implementation of the plan and a determination
    regarding his continued employment with Bed Bath & Beyond will be made. In order to assist Dennis in
    his efforts to improve his performance we have broken down the opportunities observed into two
    categories.

       1. Operational Skills
       2. Merchandising Skills
       3, Personal Work Characteristics

    Operational Skills

    Assessment

           It has been determined that Dennis is not meeting expectations. Some examples led to this
           determination:

                         A visit on September 25, 2014 by DM Cory Kaczanowsld indicated that Dennis is not
                         meeting the expectation with stockrooms. One example, there were multiple carts
                         down the aisle. Merchandise *as on the floor and not set up for POG. The
                         expectation is for Dennis to do a weekly stockroom walk. These walks should be
                         completed with the Receiving Manager and Store Manager. Going forward,
                         Dennis must walk with both managers every week to complete a stockroom walk.

                         11/4/2014 — Weekly stockroom walk was completed but not executed 100%.
                         There were still carts of backstock in the aisles. Bill Cox, SM, discussed this with
                         Dennis. They also had a conversation with the hourly associate in charge of the
                         dock area for the week.

                         11/11/2014 — The stockroom walk was completed but there were no executed
                         tasks completed. There were still carts of backstock merchandise sitting in the
                         aisles that had not been addressed.
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                  11/14/2014 — Cory Kaczanowski observed that the stockroom standards are not
                  showing improvement. Sections that have been purged or completed from the
                  "fill the floor" program have not been organized. Stockroom sections should
                  always be inventory ready and set to SAVAGE standards.

                  11/25/2014 —A stockroom walk by Cory Kaczanowski found there were still carts
                  of merchandise in the stockroom. Cory challenged Dennis on this standard and
                  asked the SM, Bill Cox, to also ensure that other managers are not leaving carts in
                  the stockroom.

                  12/2/2014 — During a regional manager visit, it was observed that there were still
                  carts of merchandise in the stockroom. The expectation is there should never be
                  carts of merchandise being used as storage.

                  12/9/2014 —The stockroom standards are still not being met. The random carts of
                  merchandise in the center stockroom have been corrected but the overall
                  grouping of merchandise on the shelves is unacceptable. The POG program is still
                  not being maintained. Dennis has not been successful in managing this process.

                  12/16/2014 — Stock rooms have shown some improvement with the number of
                  carts in the back. On this date, there were zero shopping carts in the stockroom.
                  There were still multiple boxes stacked on the floor. The grouping of merchandise
                  in the stockroom is not meeting expectation.

                  12/21/2014 — Center stock still not being maintained. There are empty boxes
                  sitting on the shelf and many boxes sitting on the floor.  •

                  12/23/2014 — There continue to be struggles with the backrooms. On this date,
                  there were multiple carts of coffee that needed to be stocked and organized in the
                  stockroom. Center stock has cage carts that are still full of backstock from days
                  before. Dennis is not walking his team and holding them accountable to the
                  stockroom standards.

                  1/6/2015 — District Manager, Cory Kaczanowski, walked the stock rooms on this
                  date. The rooms still had multiple carts that were full with random merchandise.
                  It was clear that there had not been any Improvements made on the stockroom.

                  1/9/2015 — Dennis has been working with the Receiving Manager on executing the
                  inventory prep process. The two have been coming in on their days off to
                  accomplish this. This is a result of Dennis not properly preparing for the task and
                  delegating these tasks out. The center stock room is still not meeting
                  expectations. There are multiple carts in the stock room along with empty
                  cardboard boxes sitting on the shelves. Dennis Is not walking and delegating on a
                  regular basis in order to correct these ongoing issues.
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                  A visit on September 25, 2014 by DM Cory Kaczanowski indicated that Dennis is not
                  monitoring the RTV area. An example of the process being broken is the RN area Is
                  unorganized. The RTV's are pulled and not completed 100%. Mandatory and daily
                  RTV's are not completed timely. The expectation is Dennis must ensure damages
                  are completed daily within the allotted time. Dennis must manage the entire
                  process and ensure the damages are completed when he is off. Dennis must also
                  walk with the Receiving Manager and Store Manager weekly to discuss any
                  concerns and plan out the RTV's.

                  11/4/2014 — Damages have been completed daily within the allotted time. Dennis
                  has been better at keeping a daily routine. Dennis needs to work more with
                  Receiving Manager, Mark, to ensure all R'TV's are processed 100%.

                  11/11/2014 — Damages have been completed daily within the allotted time. The
                  RTV area continues to be an issue. Dennis needs to work closer with his receiving
                  team to help them understand the expectations.

                  11/14/2014 —The RTV area is still not meeting standards. The glass log section
                  does not have a home and is not organized. There are random piles or stacks of
                  merchandise that are not organized. Dennis must work on this area to be
                  corrected by next visit.

                  11/25/2014 - The RN area is a little better than last visit. The area has been
                  cleaned a little and better organized. The supplies were not organized and the
                  corners of the fixtures were messy and unorganized.

                  12/16/2014 —The RTV area has been a challenge for Dennis as it continues to not
                  meet standards. Dennis has stayed late a few days in order to get the area caught
                  back up with processing. Dennis is not managing his Receiving Manager correctly
                  to eliminate these challenges.

                  12/23/2014 —The same Issues have continued in the RTV area. Dennis is notl
                  managing his Receiving Manager and holding him accountable to the time allowed
                  for processing. Again, Dennis has stayed late on multiple shifts in order to get the
                  area processed. Dennis is allowing the allotted times to not be followed.

                  1/6/2015 — District Manager, Cory Kaczanowski, visited on this date. He reported
                  that the RTV area was still a mess. It was not organized and was not meeting the
                  expectations that have been outlined since the beginning of this process.

                  1/9/2015 -Dennis is still not managing the RTV process. He has allowed the
                  Receiving Manager to process damages at random points during the day. Dennis
                  is not managing his time correctly. Dennis has also not ensured the mandatory
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                      RTV's are staying up to date. There has been a RTV for K10 to sent out now for
                      over 2 weeks.

                      Through multiple observations, over the past 60 days, it has been determined that
                      Dennis is not ensuring the MPW is completed. As the Operations Manager, it is
                      crucial that this is reviewed daily by all managers during the board meeting. The
                      expectation is that the MPW will be reviewed daily by all managers during the
                      board meeting. During the discussion, the conversation should be focused on
                      planning out the workload for the next day. The entire sheet must be completed
                      each day. The MPW sheets will be reviewed weekly during the touch base with
                      the Store Manager.

                      11/4/2014 — MPW was filled out 4 days last week and was done 100%. Dennis has
                      been having better conversations with his receiving associates about his
                      expectations. Dennis must continue to work with his receiving manager to
                      complete the sheet fully.

                      11/11/2014— After Bill Cox, SM, reviewed the MPW reports with Dennis, it has
                      been determined that they are still not being filled out correctly. Incorrect
                      numbers have been used and Dennis must work with Receiving Manager, Mark, to
                      teach him the proper way to figure out all the required information for the MPW.

                      12/9/2014 — The MPW continues to be a struggle for Dennis. The receiving
                      manager is still not filling it out correctly and Dennis has not been able to correct
                      the behaviors. Dennis needs to check on the process every hour that he is there.
                      He must also train each receiving associate on the steps to completing the MPW
                      sheet correctly.

                      12/16/2014 — The MPW is still not being entered and followed by the receiving
                      team. Dennis is not managing his team and holding them accountable to the
                      MPW expectations.

                      12/23/2014— MPW sheet is being filled out but only for compliance. The receiving
                      team is not following the allotted times set on the sheet.



   Merchandising Skills

   Assessment

          It has been determined that Dennis is not meeting expectations. Some examples led to this
          determination:
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                  A visit on October 9, 2014 by DM Cory Kaczanowski it was determined there were
                  multiple merchandising opportunities. For example, there were empty 4ft sections
                  in the seasonal area. He was instructed to fill those empty sections but on October
                  12, 2014, those sections were still empty. The expectation is that Dennis must
                  manage and delegate those tasks to be completed. He must utilize calendar to
                  communicate those tasks as well as verbally with his associates. The execution of
                  those tasks will be discussed and followed up during the weekly touch base with
                  the Store Manager.

                  11/4/2014 — Bill Cox, SM, has witnessed Dennis reworking the front end. He has
                  shown improvement in giving direction to his staff on the front end. He does need
                  to work better on utilizing the calendar to assign tasks which will help him with his
                  follow-up.

                  11/11/2014 — Dennis still has not utilized the calendar to communicate tasks to his
                  team. He must use the calendar to help delegate those tasks, including the front
                  end checklist.

                  11/14/2014 —The front end has recovery and filling issues with the seasonal
                  merchandise. There are empty side caps, sections are not recovered, and many
                  filling opportunities. Dennis must provide detail direction to his team on what he
                  expects to get completed in that area.

                  12/9/2014, 8111 Cox, SM, observed that the trash can wall was not filled in and
                  ready for business. Dennis is also responsible for the entire front end
                  merchandising. The register poles are light and are not being filled during the
                  closing routines.

                  12/16/2014 According to SM, Bill Cox, Dennis has been coming in on his days off
                  in order to work Christmas merchandise. This indicates he is unable to provide
                  adequate tasks to his team. He has riot been leaving a list for his team to help in
                  the execution. The front end merchandising standards are not up to the
                  acceptable level. Multiple areas In the front end have been empty for days during
                  the holiday selling season.

                  12/21/2014 — Dennis is not maintaining the front end merchandise to an
                  acceptable level. The seasonal area is not being recovered. He is not giving
                  direction to his staff to maintain the area. Yankee candle end was completely
                  empty minus two shelves.

                  12/23/2014 Dennis has continued to come in on his days off to purge
                  merchandise from the stockroom. He has been working on the seasonal shops
                  and Christmas merchandise.
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                 1/6/2015 —Cory Kaczanowski, District Manager, walked Dennis on this date and
                 communicated some moves that needed to take place on the front end. There
                 was a six sided fixture that was empty. Cory instructed Dennis to fill it with
                 clearance sheets. He also gave direction to Dennis about how to remerchandise
                 the art clearance event in order to create a better display.

                 1/9/2015 — Cory Kaczanowski returned on this date to check on the progress of the
                 two requests made on 1/6/2015. Dennis had made the changes to the art event
                 and was now meeting the expectation. The divider that was supposed to be filled
                 with clearance sheets was still empty. Cory pulled the merchandise along with
                 two other managers in order to get this corrected Immediately. When this was
                 completed, Cory walked Dennis through another area that needed to be
                 corrected. There were six more sections that needed to be filled as well as an area
                 on the front end.

                - 1/11/2015 — Cory Kaczanowski contacted Store Manager, Bill Cox, on this date to
                  follow up on the tasks given on 1/9/2015. Bill communicated to Cory that all the
                  moves requested were completed.

                 It has also been determined that Dennis does not react to the dollar outs and
                 business needs / trends. For example, summer seasonal still merchandised on the
                 front end during the month of October. Those were to be pulled by the end of
                 September. Heaters and humidifiers were not set timely. The expectation is that
                 Dennis reacts to the dollar outs he completes. He must also react to seasonality
                 changes. This will be discussed and walked weekly during the touch base with the
                 Store Manager.

                 11/11/2014 — Dennis has reset the winter seasonal area. He still has a few items
                 (sleds) that need to be merchandised.

                 11/25/214 —There were still summer seasonal items merchandise at the
                 customer service desk. The Store Manager completed this task by removing the
                 merchandise and filling it with seasonally appropriate merchandise. The seasonal
                 shop was still not filled in correctly. Dennis needs to work on providing clear
                 direction to his team on what he expects to be completed each day.

                 1/9/2015 — Dennis has not managed the seasonal transition. The clearance area at
                 the front of the store is not meeting the expectations established through
                 conversations with the Store Manager. He has now begun to work four foot
                 sections at a time. The clearance art event was also a struggle until the Store
                 Manager took over the process. Dennis is now up to date with the proper signage
                 for the art event.
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    Personal Work Characteristics

    Assessment

           It has been determined that Dennis Is not meeting expectations. Some examples led to this
           determination:

                      During 2014, Dennis has had three separate associates come forward with
                      complaints regarding the way Dennis has talked with them. Those associate
                      relations issues are not acceptable and Dennis has not reacted appropriately to
                      address these concerns. The expectation for Dennis is that he commits to being a
                      leader in dynamic associate relations. He must be the leader that people want to
                      work for, be the culture keeper, to inspire, and to be the leader the shows respect
                      and earns respect everyday. This will be followed up weekly by the Store
                      Manager and District Manager.

                      11/4/2014 — Dennis has not hadany associate relations issues this week. He has
                      made an effort in improving his communication skills with all associates.

                      11/11/2014 — Dennis has not had any associate relations issues this week.

                      12/9/2014 — Dennis has not had any associate relations Issues this week.

                      12/16/2014 — Associate's have complained to SM, Bill Cox, that Dennis does not
                      help out during the recovery time block. He does not assist with freight put away.

                      12/21/2014 — Dennis had two separate complaints from associates on this date.
                      The two associates were upset about how Dennis was managing from the office
                      area after the store was closed. Specifically, one associate was upset because he
                      did not give any tasks until after 11pm when they were ready to leave. She would
                      have been able to complete them before 11pm if he had provided them earlier.

                      1/9/2015 — Dennis has not had any associate relations this week



                      Over the past 60 days, it has been determined that Dennis is not working with the
                      appropriate sense of urgency nor managing his time. For example, it takes him at
                      least a day to write and complete a schedule for the store. This hinders Dennis in
                      getting other tasks completed timely. The expectation is that the schedule is
                      completed within the allotted time given on Tuesday. He must manage his daily
                      and weekly routine and discuss this plan during his weekly touch base with the
                      Store Manager. This will help him manage his time better.

                      11/4/2014 — Dennis completed the schedule within the allotted time. He was
                      given 3 hours this week and was done In two.
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                       11/11/2014 — it was found by Bill that there was an error on the schedules.
                       Dennis forgot to add the all store meeting to the list. Dennis corrected the issue
                       within a few minutes. He has also done a better Job with ensuring the proper
                       coverage is on the sales floor during peak times.

                       12/16/2014 — There have been no issues with the schedule writing or posting. SM,
                       Bill Cox, has taken some of this back by training another manager in the store on
                       the schedule writing process.

                       1/9/2015 — Dennis is continuing to struggle with his personal work routine and
                       getting tasks completed. He has not provided the Store Manager with his weekly
                       plan during this week.



   Dennis has seventy five days within which to meet all of the expectations outlined in this performance
   improvement plan. Cory Ka-aanoWskrand Bill Cox will meet with Dennis every two weeks to assess his
   progress.

   Dennis must show immediate, significant and measurable improvement in the categories outlined in
   addition to maintaining acceptable performance in all other areas of his Job. His performance will be
   re-evaluated at the end of seventy five days.



   Performance Improvement Manager:



   Store Manager:



   District Manager:



   Date Administered: 10/27/2014



   Completion Date: 1/9/2015
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                                  ASSOCIATE DISCIPLINARY NOTICE

Associate's Name: Dennis Popp                       Date: 9/4/2014

Date of hire: 2/27/2006                       SS# : xxx-xx-3164           Store #: 363
                                            (lastfour digits only)

Circle one:           Termination                          Warning

A. Reason(s) for notice (check applicable reasons and explain in section B):
1. ( ) Absence (indicate if unreported, excessive, etc.)   4. ( ) Failure to follow directions
2. ( ) Tardiness                                           5. ( ) Violation of company rules
3. ( x ) Improper conduct                                  6. ( ) Other


B. Facts leading to the discipline (Be specific, stating detailed explanation of incident, date/time of incident,
witness(es), rule violated, etc; refer to any previous verbal and/or written warning(s).)
On 8/28/2014, an associate from store 363 discussed with the HR Manager concerns she had regarding
Dennis's behavior. The associate brought forward a few issues:
       1.      It was reported that tWo weekspriorDennis has made a comment regardingthis associate -
           needing help with a task. The task was to recover carts from the parking lot after the store
           closed. It was alleged that Dennis requested the assistance via radio and made a statement that
           the associate needed someone to hold their hand. The associate was offended by this
           statement. When Dennis was asked about this he did admit to making that statement via
           radio. He understood that it was not the appropriate communication to be having and realizes
           he should have taken a different approach when asking for help.
       2.      It was reported that on multiple occasions Dennis asks this associate to complete one
           project and then stops her to move on to another project. The associate alleges Dennis pulls
           her in multiple directions and does not allow her to complete her tasks. When Dennis was
           asked about this he does not recall any specific situation. He did admit that at certain times he
           will give multiple tasks/projects in order to keep the recovery period going while he is closing.
       3.      It was reported that about three weeks ago the associate was assisting another manager
           with a pack and hold pick up. The associate was working on the front end but left her post to
           assist a manager. When she arrived back up front it was alleged that Dennis was discussing
           this associates actions with another associate. Dennis did not recall this situation nor did he
           discuss this associates actions with another hourly.
       4.      The Store Manager reported that approximately four weeks ago a conversation occurred
           between Dennis and a different hourly associate. It was alleged that the hourly associate
           contacted Dennis via radio for assistance with a question a customer had. The associate was on
           the front end. It was alleged that Dennis responded to the question with a short answer and
           told the associate where the items where and he could get them on his own. When Dennis was
           asked about this he did admit to this type of response. He recognized that he did not practice
           good behavior when talking with this associate. He admitted that he should have assisted the
           associate with the question.



C. Previous Disciplinary Discussions: Associate Disciplinary Notice Associate Relations — Warning —
1/27/2014
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D. Describe the Company's expectations of associate:
Bed Bath & Beyond strictly prohibits any behavior or conduct that is unprofessional and disrespectful.
As a manager of Bed Bath & Beyond you are expected set the proper example for others and make the
appropriate decisions regarding your behavior. Bed Bath & Beyond associates are expected to behave at
all times with common courtesy, common decency and common sense. Any violation of these guidelines,
or any other action, which in the opinion of management is detrimental to the orderly conduct or
integrity of the business, will result in disciplinary action, up to and including termination of
employment.

E. Next disciplinary step: Repeated behavior of the aforementioned and/or any other policy violation will
result in further disciplinary action up to and including termination




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                                                     q-N-€12       Th2                                             )4—
Manager's Name               Date            Manager's Name        Date        associate's Signa      ate
                                                                             (This signature indicates that
                                                                             associate is aware of this notice.)

Manager's Signature          Date                  tiger's Signature Date

(Once completed and signed, file in associate's personnel file,)
                                                                                    1-1R 026A 11/11
